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                         UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO




 UNITED STATES OF AMERICA,                        Case No. 1:10-CR-221-BLW

                      Plaintiff,
                                                  ORDER
        v.

 JOSE CARDONA-RAMIREZ, et al.,

                      Defendants.



       The Court has before it Defendant’s Motion to Continue Trial (Dkt. 23).

Defendant states that counsel needs additional time to do investigation, review discovery,

and prepare for trial. Defendant requests and additional 60 days.

       Under all these circumstances, the Court finds that a continuance is needed to give

defense counsel an opportunity to provide an effective defense. Thus, a continuance is

warranted under 18 U.S.C. § 3161(h)(7)(B)(iv), which authorizes a finding of excludable

time when the refusal to grant a continuance would “deny counsel for the defendant . . .

the reasonable time necessary for effective preparation . . . .” Under these circumstances,

the interests of justice in allowing the defense time for effective preparation outweighs

the defendant’s and the public’s interest in a speedy trial under 18 U.S.C. §

3161(h)(7)(A). The statements of defense counsel establish that the trial should be reset

on January 10, 2011 at 1:30 p.m. at the United States Courthouse in Bosie, Idaho. The
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Court finds that the period of time between the present trial date and the new trial date is

excludable time under the Speedy Trial Act.

       Co-defendant Victoria Villa-Gonzalez has not moved for a continuance. However,

he has not opposed the motion. Under the Speedy Trial Act, 18 U.S.C. § 3161(h)(6),

excludable time exists for “a reasonable period of delay when the defendant is joined for

trial with a co-defendant as to whom the time for trial has not run and no motion for

severance has been granted.” Accordingly, pursuant to 18 U.S.C. § 3161(h)(6), the Court

finds that the excludable time found for the defendant moving for a continuance also

applies to the co-defendant. Thus, Defendant Victoria Villa-Gonzalez will have trial

moved to January 10, 2011 as well. Accordingly,

       NOW THEREFORE IT IS HEREBY ORDERED that the Motion to Continue

Trial (Dkt. 23) shall be, and the same is hereby GRANTED, and that the present trial date

be VACATED, and that a new trial be set for January 10, 2011 at 1:30 p.m. in the U.S.

Courthouse in Boise, Idaho.

       IT IS FURTHER ORDERED that the period of time between the prior trial date

and the new trial date be deemed EXCLUDABLE TIME under the Speedy Trial Act, 18

U.S.C. § 3161(h)(7)(A) & (B).

       IT IS FURTHER ORDERED that the current trial readiness conference be

VACATED, and that a new trial readiness conference be conducted by telephone on

December 14, 2010 at 4:00 p.m. The Government shall place the call to (208) 334-9145

with opposing counsel on the line. The Court recognizes that this may be a little early for
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the trial readiness conference, but counsel for Victoria Villa-Gonzalez has informed the

Court that is not available the following two weeks. A second trial readiness conference

may be necessary at a later date.

       IT IS FURTHER ORDERED that all pretrial motions shall be filed on or before

November 30, 2010.




                                         DATED: October 14, 2010




                                         B. LYNN WINMILL
                                         Chief U.S. District Court Judge
